Case 24-80740 Doci0 Filed 10/02/24 Entered 10/02/24 17:04:24 Desc Main
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www. jomaxrecovery.com

| RECOVERY SERVICES

September 27, 2024

United States Bankruptcy Court
Central District of Illinois

216 Federal Building

100 N.E. Monroe St

Peoria, IL 61602-1003

RE: Notice of Appearance
Debtor: Spencer Curtale
Case No.: 24-80740
Our Client: Platte River Insurance Company
Our File: 23874 & 23873

Dear Clerk of the Court:

Please take notice that Jomax Recovery Services, as authorized agent for Platte River Insurance
Company, a creditor in the above-referenced case, hereby requests that all notices given or required
to be given, and all papers served or required to be served in this bankruptcy proceeding including,
without limitation, all notices pursuant to Federal Rules of Bankruptcy Procedure, be given and
served upon:

Platte River Insurance Company
c/o Jomax Recovery Services
9242 W. Union Hills Drive #102
Peoria, AZ 85382

A copy of this notice is attached, to be date stamped and returned to our office in the pre-stamped
envelope provided. Please let me know if you have questions.

Sincerely,

| [ bruce

Machelle DeBruin
Legal Coordinator

‘MD : 4 . ee ESI A,
Encl,

ce: Platte River Insurance Company
